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                                       ORDERED.
 Dated: April 02, 2025




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

 In Re:                                                     Case No. 6:24−bk−03843−LVV

 Chaim Levilev,                                             Chapter 7

                                 Debtor

            AGREED ORDER EXTENDING TIME TO OBJECT TO DISCHARGE

          This Case came before the Court on Nossen Levilev’s, individually and as manager of

Harmless Products, LLC, and as Trustee of the Smoke Free World Foundation, Harmless Products,

LLC’s, the Smoke Free World Foundation’s, Joseph Levilev’s a/k/a Yossi Levilev and Sara

Levilev’s a/k/a Suri Levilev (collectively referred to as “Creditors”) unopposed motion to extend

Creditors’ time to object to discharge and/or challenge the dischargeability of certain debt to April

30, 2025. By submission of this order for entry, the submitting counsel represents that the opposing

party consents to its entry.

          Accordingly, it is ORDERED:

          Creditors Joseph Levilev, Sara Levilev, Nossen Levilev, Harmless Products, LLC and the
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Smoke Free World Foundation shall have through and including April 30, 2025 within which to file

any objections to discharge and/or to challenge the dischargeability of certain debt in the above

styled case.



Attorney David W. Berenthal is directed to serve a copy of this order on interested parties who do

not receive service by CM/ECF and file a proof of service within three days of entry of the orde
